W.H. GRIFFIN, TRUSTEE                                                     Case #: 17-21951-13
5115 ROE BLVD
SUITE 200
ROELAND PARK, KS 66205-2393

                              IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF KANSAS

                            TRUSTEE'S REPORT OF RECEIPTS AND DISBURSEMENTS
                                         Chapter 13 Case #: 17-21951-13
                                         Date of Filing: October 06, 2017


Edith Larvern Halliburton                                                     IN RE:
15125 Dearborn                                                                         Edith Larvern Halliburton
Overland Park, KS 66223
                                                                                                                 Debtor

                                                       RECEIPTS
                                      For the Period from 12/1/2018 through 11/30/2019
Date        Amount          Date        Amount         Date         Amount             Date          Amount
12/11/18     $735.00        1/15/19     $735.00        2/20/19      $735.00            3/15/19       $735.00

Date        Amount          Date         Amount        Date         Amount             Date          Amount
4/11/19     $735.00         5/9/19      $735.00        6/21/19      $735.00            7/18/19       $735.00

Date        Amount          Date        Amount         Date         Amount
8/15/19     $735.00         10/24/19     $367.00       10/24/19      $735.00


                                      CLAIMS AND DISTRIBUTIONS TO DATE
Claim # Claimant Name                Type                    Allowed Percent to Principal          Interest   Interest     Principal
                                                              Claim   be Paid     Paid               Rate       Paid       Balance
0         CLERK OF THE BANKRUPT       FILING FEE                  $0.00    100.00          $0.00       0.00        $0.00         $0.00
0         Edith Larvern Halliburton   DEBTOR REFUND               $0.00      0.00          $0.00       0.00        $0.00         $0.00
0         NADER J STANFORD            ATTORNEY FEE            $2,650.00    100.00      $2,650.00       0.00        $0.00         $0.00
1         SFC-CENTRAL BANK & RE       UNSECURED                 $922.91      0.00          $0.00       0.00        $0.00         $0.00
2         KANSAS DEPARTMENT OF        PRIORITY                  $226.53    100.00          $0.00       0.00        $0.00       $226.53
3         INTERNAL REVENUE SERV       PRIORITY                $5,611.68    100.00          $0.00       0.00        $0.00     $5,611.68
4         KCP&L                       UNSECURED               $2,088.23      0.00          $0.00       0.00        $0.00         $0.00
5         PORTFOLIO RECOVERY AS       UNSECURED                 $516.22      0.00          $0.00       0.00        $0.00         $0.00
6         ADVANCE AMERICA             UNSECURED                 $582.28      0.00          $0.00       0.00        $0.00         $0.00
7         MONTGOMERY WARD             UNSECURED                  $50.69      0.00          $0.00       0.00        $0.00         $0.00
8         LOAN MAX                    SECURED                 $1,904.09    100.00        $722.56       5.75      $192.55     $1,181.53
9         LOAN MAX                    SECURED                   $500.00    100.00        $238.09       5.75       $48.29       $261.91
10        STONEBERRY                  UNSECURED                 $160.32      0.00          $0.00       0.00        $0.00         $0.00
11        AMERIMARK                   UNSECURED                 $381.85      0.00          $0.00       0.00        $0.00         $0.00
12        DR LEONARDS SHOP NOW        UNSECURED                 $344.17      0.00          $0.00       0.00        $0.00         $0.00
13        K. JORDAN                   UNSECURED                 $324.35      0.00          $0.00       0.00        $0.00         $0.00
14        JEFFERSON CAPITAL SYST      UNSECURED                 $652.17      0.00          $0.00       0.00        $0.00         $0.00
15        JEFFERSON CAPITAL SYST      UNSECURED                 $203.70      0.00          $0.00       0.00        $0.00         $0.00
16        KANSAS GAS SERVICE          UNSECURED                 $518.35      0.00          $0.00       0.00        $0.00         $0.00
17        PORTFOLIO RECOVERY AS       UNSECURED                 $505.59      0.00          $0.00       0.00        $0.00         $0.00
18        PORTFOLIO RECOVERY AS       UNSECURED                 $519.00      0.00          $0.00       0.00        $0.00         $0.00
19        JOHNSON COUNTY WASTE        UNSECURED               $2,322.69      0.00          $0.00       0.00        $0.00         $0.00
20        ECMC                        UNSECURED               $6,197.93      0.00          $0.00       0.00        $0.00         $0.00
21        PORTFOLIO RECOVERY AS       UNSECURED               $1,585.36      0.00          $0.00       0.00        $0.00         $0.00
22        MID AMERICA BANK & TR       UNSECURED                 $325.70      0.00          $0.00       0.00        $0.00         $0.00


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23      MID AMERICA BANK & TR     UNSECURED                  $280.60      0.00        $0.00   0.00       $0.00       $0.00
24      PORTFOLIO RECOVERY AS     UNSECURED                  $906.39      0.00        $0.00   0.00       $0.00       $0.00
25      PORTFOLIO RECOVERY AS     UNSECURED                  $524.11      0.00        $0.00   0.00       $0.00       $0.00
26      RESURGENT CAPITAL SER     UNSECURED                $1,910.84      0.00        $0.00   0.00       $0.00       $0.00
27      RESURGENT CAPITAL SER     UNSECURED                  $903.82      0.00        $0.00   0.00       $0.00       $0.00
28      QUANTUM3 GROUP            UNSECURED                  $356.77      0.00        $0.00   0.00       $0.00       $0.00
29      ARSI                      UNSECURED                   $68.64      0.00        $0.00   0.00       $0.00       $0.00
30      QUANTUM3 GROUP            UNSECURED                  $219.13      0.00        $0.00   0.00       $0.00       $0.00
31      ECAST SETTLEMENT CORP     UNSECURED                   $94.10      0.00        $0.00   0.00       $0.00       $0.00
32      Central Auto Credit       SECURED-910 CAR         $19,063.62    100.00   $10,502.87   5.75   $1,707.16   $8,560.75
1202    KANSAS DEPARTMENT OF      PRIORITY ESTIMATED         $553.99    100.00        $0.00   0.00       $0.00     $553.99
1002    KANSAS DEPARTMENT OF      NON-PRIORITY/NON-D       $4,143.14    100.00        $0.00   0.00       $0.00   $4,143.14
1102    KANSAS DEPARTMENT OF      UNSECURED                  $693.81      0.00        $0.00   0.00       $0.00       $0.00
1003    INTERNAL REVENUE SERV     UNSECURED               $24,201.04      0.00        $0.00   0.00       $0.00       $0.00
10009   LOAN MAX                  UNSECURED                $1,571.72      0.00        $0.00   0.00       $0.00       $0.00



                                                    SUMMARY

Summary of all receipts and disbursements from the date the case was filed, to and including: 12/10/2019

Receipts: $18,330.00 Paid To Claims: $16,061.52 Trustee's Fees Paid: $1,231.65 Funds On Hand: $1,036.83

**NOTE:ALL CASES MUST RUN AT LEAST 36 MONTHS UNLESS ALL ALLOWED CLAIMS ARE PAID 100 %. DO NOT
PAY OFF YOUR PLAN EARLY WITHOUT CONSULTING WITH YOUR ATTORNEY AND THE TRUSTEE . THE PRINCIPAL
BALANCE DOES NOT REPRESENT THE PAYOFF AMOUNT FOR YOUR CASE. THIS IS ONLY A CURRENT BALANCE
AND DOES NOT INCLUDE ANY FUTURE ACCRUED INTEREST ON CLAIMS




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